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 3   Telephone: (602) 550-6405
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 4   E-mail: jim@jellisonlaw.com
 5   JAMES M. JELLISON, ESQ. #012763
     Attorney for Defendants Pinal County, the Pinal County Sheriff’s Office, and Sheriff Mark
 6   Lamb, in his official and individual capacity (the “Pinal County Defendants”)
 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                                FOR THE DISTRICT OF ARIZONA
 9
     Dennis Ashcraft and Barbara Ashcraft,               Case No.:
10   husband and wife,
                                                         NOTICE OF REMOVAL OF ACTION
11                        Plaintiffs,                    FROM STATE COURT
     vs.
12
     Pinal County, a public entity; Pinal County
13   Sheriff’s Office, a division of Pinal County;
     Sheriff Mark Lamb, in his official and
14   individual capacity; John Does I-L; Jane
     Does, LI-C, ABC Corporations CI-CL; and
15   XYZ Partnerships CLI-CC,
16                        Defendants.
17
18
     To the Clerk of the above entitled Court:
19
20          PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§1331, 1343, 1441 and 1446 and
21
     U.S. District Court Local Rule 3.6, the Pinal County Defendants hereby notice the removal of the
22
     above-captioned case from the Arizona Superior Court, County of Pinal, to this Court and in
23
24   support thereof respectfully show:

25
26




                                                     1
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 1          1.       The Pinal County Defendants received the original Complaint1 in the state court
 2   action on or about April 1, 20019. A Copy of State Court Records are attached hereto as Exhibit
 3
     “A” and incorporated herein by reference.
 4
 5          2.       This Notice of Removal is being filed within thirty days after receipt of the

 6   Complaint, which state federal claims in the underlying state court action, and is timely filed
 7   under 28 U.S.C. §1446(b).
 8
            3.       The time for the Pinal County Defendants to answer or move with respect to the
 9
     Complaint and/or Amended Complaint has not expired; the Pinal County Defendants have not
10
11   answered or otherwise responded to the original Complaint or the Amended Complaint.
12          4.       Upon information and belief, Plaintiffs are resident of the State of Arizona.
13
            5.       A copy of this Notice has been filed with the Clerk of the Superior Court in and for
14
     Pinal County.
15
16          6.       This is a civil action in which Plaintiffs allege constitutional causes of action
17   pursuant to 42 U.S.C. §1983, as well as alleged, pendent state law causes of action.
18
            WHEREFORE, the Pinal County Defendants request the above-entitled action now
19
     pending in the Superior Court of the State of Arizona, in and for the County of Pinal, be removed
20
21   to this Court and that all further proceedings in this action be conducted in this Court as provided
22   by law, and as a Phoenix Precinct matter pursuant to LRCiv. 77.1.
23
24
25
26   1
      On April 19, 2019, Plaintiffs filed an Amended Complaint, which is part of the State Court
     Records attached hereto as Exhibit A.



                                                       2
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 1           DATED this 24th day of April, 2019.
 2                                             JELLISON LAW OFFICES, PLLC
 3                                             By: /s/James M. Jellison____________
                                               James M. Jellison
 4                                             Attorney for the Pinal County Defendants
 5
     I hereby certify that on April 24, 2019
 6   I electronically transmitted the attached document
     to the Clerk’s Office using the
 7   CM/ECF System for filing,
 8   COPY mailed this same day to:
 9   RUBIN LAW PLC
     Alexandra S. Rubin
10   3550 North Central Avenue, Suite 1010
     Phoenix, AZ 85012-2111
11   Attorneys for Plaintiff
12
13
     /s/Jill H. Jellison
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